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    U nited States Code Effective:O ctober l9,2009
    Title l8.Clim es and Crim inalProcedure
    Partll.Crim inalProcedure
    Chapter 223.W itnessesand Evidence
    5 3512.Foreign requestsforassistancein criminalinvestigationsand prosecutions

    (a)Executionofrequestforassistance.--
    (1)In general.--uponapplication,dulyauthorizedbyan appropriateofficialoftheDepartment
    ofJustice,ofanAttorneyfortheGovernment,aFederaljudgemayissuesuchordersasmaybe
    necessary to execute a requestfrom a foreign authority for assistance in the investigation or
    prosecution ofcrim inaloffenses,or in proceedingsrelated to the prosecution ofclim inal
    offenses,including proceedings regarding forfeiture,sentencing,and restitution.

    (2)Scopeoforders.--AnyorderissuedbyaFederaljudgepursuanttoparagraph(1)mayinclude
    the issuance of--

    (A)asearch warrant,asprovided underRule41oftheFederalRulesofCriminalProcedure;
    (B)awarrantororderforcontentsofstoredwireorelectroniccommunicationsorforrecords
    related thereto,asprovided undersection 2703 ofthistitle'
                                                            ,

    (C)anorderforapenregisterortrap andtracedeviceasprovidedundersection3123ofthis
    title;or

    (D)anorderrequiringtheappearanceofapersonforthepurposeofprovidingtestimonyora
    statem ent,orrequiring theproduction ofdocum ents orotherthings,orboth.

    (b)Appointmentofpersonstotaketestimonyorstatements.--
    (1)lngeneral.--lnresponsetoan application forexecution ofarequestfrom aforeign authority
    asdescribedundersubsection (a),aFederaljudgemayalsoissueanorderappointingapersonto
    directthe taking oftestim ony orstatem ents or ofthe production ofdocum entsorotherthings,or
    both.

    (2)Authorityofappointedperson.--Anypersonappointedunderanorderissuedpursuantto
    paragraph(1)may--
    (A)issueordersrequiringtheappearanceofaperson,ortheproductionofdocumentsorother
    things,orboth;

    (B)administeranynecessaryoath;and
    (C)taketestimonyorstatementsandreceivedocumentsorotherthings.
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    (c)Filingofrequests.--Exceptasprovidedundersubsection(d),anapplication forexecutionofa
    requestfrom a foreign authority underthis section m ay be filed--

    (1)inthedistrictinwhich aperson whomayberequiredtoappearresidesorislocatedorin
    w hich the docum ents orthings to be produced are located;

    (2)incasesinwhichtherequestseekstheappearanceofpersonsorproductionofdocumentsor
    things thatm ay be located in m ultiple districts,in any one ofthe districtsin w hich such a person,
    docum ents,orthingsm ay be located;or

    (3)inanycase,thedistrictinwhicharelatedFederalcriminalinvestigationorprosecutionis
    being conducted,orin the D istrictofColum bia.

    (d)Searchwarrantlimitation.--Anapplication forexecutionofarequestforasearchwarrant
    from a foreign authority underthis section,otherthan an application fora w arrantissued as
    provided undersection 2703 ofthistitle,shallbe filed in the districtin w hich the place orperson
    to be searched is located.

    (e)Searchwarrantstandard.--A Federaljudgemayissueasearchwarrantunderthissectiononly
    ifthe foreign offense forw hich the evidence issoughtinvolvesconductthat,ifcom m itted in the
    U nited States,w ould be considered an offense punishable by im prisonm entform ore than one
    yearunderFederalorState law .

    (9 Selwiceoforderorwarrant.--Exceptasprovidedundersubsection(d),anorderorwarrant
    issued pursuantto thissection m ay be selw ed orexecuted in any place in the U nited States.

    (g)Ruleofconstruction.--Nothinginthissection shallbeconstruedtoprecludeanyforeign
   authority oran interested person from obtaining assistance in a crim inalinvestigation or
   prosecution pursuantto section 1782 oftitle 28,United StatesCode.

    (h)Definitions.--Asusedinthissedion,thefollowingdefinitionsshallapply:
    (l)Federaljudge.---f'
                        heterms''Federaljudge''and ''AttorneyfortheGovernment''havethe
    m eaning given such term s forthepurposesofthe FederalRulesofCrim inalProcedure.

    (2)Foreignauthority.---fhetenu ''foreignauthority''meansaforeignjudicialauthority,aforeign
   authority responsible for the investigation orprosecution ofcrim inaloffenses or forproceedings
   related to theprosecution ofcrim inaloffenses,oran autholity designated as a com petent
   authority or centralauthority forthe purpose ofm aking requestsforassistance pursuantto an
   agreem entortreatywith theUnited Statesregarding assistancein crim inalm atters.

    (AddedPub.L.111-79,5 2(4),Oct.19,2009,123Stat.2087.)
    18 U.S.C.A.9 3512,18USCA 9 3512
    Currentthrough P.L.111-86(excludingP.L.1l1-84)approved 10-29-09
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                                 UN ITED STA TES D ISTRICT CO U RT
                                 SO UTHERN D ISTRICT O F FLO RIDA

                              CA SE N O.


    ln Re: Requestfrom A rgentina Pursuantto the
    Treaty Betw een the Governm entofthe U nited States
    ofAm erica and the G ovenzm entofthe R epublic of
    Argentina on M utualLegalA ssistance in Crim inal
    M atters in the M atterofFederico Garcia A paricio




                                             SAM PLE

                                  C O M M ISSIO N ER 'S SU BPO EN A



    TO :




           1,Com m issionerD anielJ.Bernstein,an A ssistantUnited StatesA ttorney forthe Southern

    D istrictofFlorida,acting pursuantto the Treatv Between the G overnm entofthe United Statesof

    A m erica and the G overnm ent of the Renublic of A rgentina cm M utual Legal A ssistance in

    CriminalMatters,U.S.-Arg.,Dec.4,1990,S.TREATY DOC.NO.102-18(1991),18 U.S.C.5
    3512,and this Court's order thereunder dated                      ,for the purpose of rendeling

    assistance to the Republic of A rgentina,com m and that m u appear before m e in Room         ,

    located                                          the city and state of                    , on

                            at        A M /PM to provide testim ony/docum entsregarding an alleged

    violation ofthelawsofArgentina,namely,investmentfraud,and among otherviolations,andthat
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   atthe place and tim e aforesaid you provide the follow ing:

    Iidentify docum entsetc.tobeproducedl
          Failureto attend andprovide testimony/said docum ents,orfOrdisclosureoftheexistence

   ofthe subpoena,you m ay be deem ed guilty ofcontem ptand liable to penaltiesunderthe law .




                                                Com m issioner DanielJ.Bernstein
                                                A ssistantUnited StatesA ttorney


    D ated:
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                                                                                                                  Page 1




                                                    lof1DOCU M EN T

                                                  U .S.TreatiesonLEX IS

                                                       ARGEN TIN A

                  TREATY W ITH A RGEN TINA ON M UTUA L LEG AL A SSISTANCE IN CRIM IN AL
                                               M ATTERS

                                                  TREATY DOC.102-18

                                                   1990 LI5'
                                                           .T LEXIS 224

                                              Decem ber4,1990,Date-signed

                                              February9,1993,Date-ln-Force

   STA TU S:
    (*11 SignedatBuenosAireson December4,1990.Entered into forceFebruary9,1993.
                            M ESSAGE FRO M THE PRESIDENT OF THE U NITED STATES

                  TRANSM ITTIN G THE TREATY BETW EEN THE G OVERN M EN T OF THE UNITED
                   STATES OF A M ERICA AN D THE GOV ERN M EN T OF THE REPUBLIC O F A R-
                  GENTINA ON M U TUAL LEGAL ASSISTAN CE IN CRIM INAL M ATTERS,SIGN ED
                                  AT BUENO S A IRES ON DECEM BER 4,1990

   TEXT:
   102D CONGRESS
       SENATE
       LETTER O F TRA NSM ITTAL
       THE W HITE HOU SE,October31,1991.
   TotheSenateoftheUnitedStates:
       W ith a view to receiving the advice and consentofthe Senate to ratification,ltransm itherew ith the Treaty between
   the Governm entofthe United StatesofAm ericaand the Governm entofthe Republic ofArgentina on M utualLegal
   Assistancein CriminalM atters,signed atBuenosAireson December4,1990.Itransm italso,fortheinform ation ofthe
   Senate,theReportoftheDepartm entofStatew ith respectto theTreaty.
       TheTreatyisoneofaseriesofm odern mutuallegalassistancetreatiesbeingnegotiatedby theUnited Statesinor-
   dertocountercriminalactivitiesmoreeffectively.TheTreatyshould(*2) beaneffectivetooltoassistintheprosecu-
   tion ofaw idevarietyofm oderncriminals,includingm em bersofdrugcartels,''w hitecollarcriminals,''andterrorists.
   The Treaty is self-executing.
       TheTreatyprovidesforabroadrangeofcooperationincriminalmatters.Mutualassistanceavailableunderthe
   Treatyincludes'
                 .(1)thetakingoftestimonyorstatementsofwitnesses'
                                                                ,(2)theprovisionofdocuments,records,and
   evidence;(3)theexecutionofrequestsforsearchesandseizures'
                                                           ,(4)theservingofdocuments'
                                                                                    ,and(5)theprovisionof
   assistanceinlocating,tracing,imm obilizing,seizing and forfeitingproceedsofcrim e,andrestitution tothevictim sof
   crim e.
         lrecomm end thattheSenategiveearly andfavorableconsideration to theTreatyand giveitsadviceandconsentto
   ratification.
       G EO RGE BUSH.
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      LETTER O F SUBM ITTA L
      D EPARTM EN T O F STATE,
      Washington,D C,October17,1991.

  The PRESIDEN T,
  The rrr
        /lf/cHouse.
      THE PRESIDENT:1havethehonorto submitto youtheTreatybetweentheGovernmentoftheUnited Statesof
  AmericaandtheGovernmentoftheRepublicofArgentinaonMutualLegalAssistanceinCriminalMatters(the''Trea-
  ty''),signedatBuenosAireson DecemberL*3) 4,l990.lrecommendthattheTreatybetransmittedto theSenatefor
  itsadviceand consentto ratification.
      TheTreaty coversmutuallegalassistanceincriminalmatters.ln recentyears,similarbilateraltreatieshaveentered
  intoforcew iththeBahamas,Canada,ltaly,M exico,theN etherlands,Switzerland,Turkey andtheU nited Kingdom
  concerningtheCaymanlslands;andothershavebeenconcludedandratitiedbytheUnitedStates(buthavenotyeten-
  teredintoforce)withBelgium,Colombia,Morocco,andThailand'
                                                         ,orhavebeenconeludedandsignedwithJamaica,
  N igeria,Panam a,SpainandUruguay.TheTreaty containsm anyprovisionssim ilarto thoseintheothertreaties.
      TheTreatyisdesignedtobeself-executing and willnotrequireim plem enting legislation.
      Article 1requiresmutualassistancein theprevention,investigation,and prosecutionofcrimeandinal1related
  proceedings,whethercrim inal,civiloradministrative.Thiswouldinclude,forexample,cooperationinproceedings,
  which m aybecivilin nature,toforfeittheproceedsofdrugtrafficking.Thereisno doublecrim inality requirem entfor
  cooperationundertheTreaty;aRequested Stateisrequiredto execute g*41 arequestwithoutregardtowhetherthe
  subjectmatterwouldconstituteanoffenseunderitsownlaws.AssistanceundertheTreatywillinclude:provisionof
  documents,recordsandevidence;executingrequestsforsearchesand seizures;im m obilizing assets'     ,assistinginpro-
  ceedingsrelating toforfeiture,restitution and collection offines;obtainingwitnesstestim ony;and otherform sofassis-
  tance.Thearticleexplfcitlystatesthatitisnotintended tocreaterightsin privatepartiesto obtain,suppress,orexclude
  anyevidence,ortoimpedetheexecution ofany requestundertheTreaty.
      Article2 definestheCentralAuthoritiesforpurposesoftheTreaty.FortheUnited States,theCentralAuthorityis
  theAttorney Generalorpersonsdesignatedbyhim .ForArgentina,the CentralAuthority istheSubsecretary ofJustice
  orhisdesignee.Requestsaretobem adedirectlybetw eentheCentralAuthorities.
      Article3 setsforth thecircumstancesunderwhich aPartymay deny assistanceundertheTreaty.TheRequested
   Statemaydenyrequestsrelatingtomilitaryorpoliticaloffenses,andrequestswhoseexecutionwouldprejudicethe
  securityorotheressentialpublicinterestsofthe (*51 Requested State.Beforedenyingassistance,theCentralAuthor-
  ityoftheRequested Stateisrequiredto consultwith theCentralAuthorityoftheRequesting Stateto considerwhether
   assistancemaybegivensubjecttoconditions.TheRequestingStateisrequiredtocomplywithanyconditionsitaccepts
  in orderto obtain theassistancesought.lfarequestisdenied,theRequesting Stateisrequiredto inform theRequesting
  Stateofthereasonsfordenial.
       Article4 prescribestheform and contentofwrittenrequestsundertheTreaty,specifying in detailtheinformation
  requiredin eachcaseinordertofacilitatethemostcompleteexecution ofarequestpossible.Theserequirementsare
  sim ilartothosecontainedinotherm utuallegalassistancetreatiestow hichtheUnitedStatesisaParty.
       Article5requirespromptcompliancewitharequestor,whenappropriate,transmittaltotheauthorityhavingjuris-
   dictionto executeitintheRequested State.Thatauthority isrequired todo everything initspowerto executethere-
   quest.ThearticlealsostatesthatthejudicialauthoritiesoftheRequestedStateshallhavejurisdictiontoissuesubpoe-
   nas,searchwarrantsorotherorders g*6) necessarytoexecutearequest.TheRequestedStateisrequiredtorepresent
   theinterestsoftheRequested Statein any proceedingsrelatedtotherequest.
       Althoughtherequestmustbeexecutedgenerally inaccordancewith thelawsoftheRequested State,themethod of
   execution specifiedby the Requested Statemustbefollowed,ifnotprohibited bythelawsoftheRequested State.This
   articlefurtherpermitstheRequestedStatetopostponeexecutionofarequestorgrantit,subjecttoconditions,ifexecu-
   tion wouldinterferew ith anongoing investigation orproceeding in thatState.TheRequested Statem ustcom ply with
   any conditionsitacceptsin orderto obtaintheassistancesought.TheRequested Stateisobligedtouseitsbesteffortsto
   respectany contidentialityrequirem entsspecifiedintherequestandto advisetheRequestingStatebeforeexecuting a
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   request,ifsuch confidentiality cannotbepreservedintheprocess.TheRequesting Statem ustbeprom ptlyinfonnedof
   thedisposition oftherequest,whetherexecuted,in wholeorinpart,ordenied.
       Article6apportionsbetweenthetwo Statesthecostsincurredin executing arequest.
       Article7establishesproceduresforg*7J insulingthecontidentialityofrequestsandtheircontentsandforre-
   strictingtheuseofanyinformation orevidenceobtainedundertheTreatyorderivedtherefrom .
        A rticle8requirestheRequested Stateto compel,ifnecessary,thetaking oftestim onyofproductionofdocum ents
   orotherevidencein itsterritor.yonbehalfoftheRequesting State.ThearticlefurtherrequirestheRequested Stateto
   inform theRequesting Stateofthedateandplaceofthetakingoftestim ony orevidence,andto authorizethepresence
   ofany persons specified in the request,such asthe accused,counselforthe accused,orotherinterested persons,and to
   allow such personsto presentquestionsin accordance with the lawsofthe Requested State.The article also specifies
   thatany assertion ofimm unity,incapacityorprivilegeavailableunderthelawsoftheRequesting Statewillbenoted for
   laterresolutionby theRequesting Statebutw illnotprecludethetakingoftestimony ortheproductionofdocum entsin
   theRequested State.Finally,thearticlespecifiesaprocedurefortheauthentication ofbusinessrecordsproduced,using
   form sappended to the Treaty.
       Article9requirestheRequested Stateg*81 toprovidetheRequesting Statewith copiesofpubliclyavailabledoc-
   uments,recordsorinform ation inthepossessionofgovernm entdepartm entsand agenciesintheRequested State.The
   Requested Stateretainsthediscretion toprovidenon-publicinformation in such departments'and agencies'possession
   tothesameextentandunderthesameconditionsastheyareavailabletoitsownlaw enforcementandjudicialauthori-
   ties.Thearticlespecifiesalternativeproceduresfortheofticialauthentication ofdocum entsproducedunderthisarticles
   andprovidesfortheiradm issibilityin the Requesting State,ifsuchproceduresarefollow ed.
        Article 10providesam echanism foraRequesting Stateto invitethevoluntaryappearanceand testim ony in itster-
   ritol
       'y ofa person located in the Requested State.In such a case,the CentralAuthority ofthe Requested State isrequired
   toinvitethepersonto appearin anon-com pulsory manner,indicatingtheextentto which expenseswillbereim bursed
   by the Requesting State,and to inform the Requesting State prom ptly ofthe person'sreply.
       Article 11providesforthevoluntary transfertotheRequesting Stateofaperson incustody in theRequested g*9j
   State,asw ellasthe voluntary transferto the Requested State ofa person in custody in the Requesting State,forpurpos-
   es ofassistance underthe Treaty,provided thatthe Requested State consents.The articleprovidesthe expressauthority
   fortheReceiving Stateto maintainthepersonin custody.Itfurtherspecifiestherequirementsforkeepingthepersonin
   custody,insuring hisreturn,and deducting thetim e spentin custody in one State pursuantto a requestmade underthe
   Treatyfrom thetimerem ainingtobeserved intheotherState.
      Article 12 requirestheRequestedStateto m akeitsbesteffortstoascertainthelocation oridentity ofpersons,such
   aswitnesses orsuspects,specified in a request.
       Article 13 obligatestheRequestedStateto useitsbesteffortstoeffectserviceofany documentrelating toorform-
   ingpartofarequestundertheTreaty.Any requestfortheserviceofadocum entrequiring apersonto appearin theRe-
   questing Statem ustbetransm ittedinareasonabletim ebeforethescheduled appearance.TheRequestedState isre-
   quiredtoreturnproofofseniceasspecitied in theRequest.
       Article 14 obligateseach Stateto executerequestsforsearch, g*101 seizureand delivery ofanyitem totheRe-
   questingState,iftheinformationcontainedintherequestjustifiessuchactionunderthelawsoftheRequestedState.
   Thearticlealsocreatesam echanism forestablishingthecontinuityofcustody,and theidentity and integrityofany
   such item inordertopreserveitsadm issibilityin evidencein theRequesting State.Thearticlefurtherprovidesforthe
   protectionofrightsofany thirdpartiesto suchitem s.
       Article 15requirestheRequesting Statetoreturflany docum ents,recordsorevidencereceivedinexecution ofa
   requestassoon aspossibleunlesstheRequestedStatew aivestheirreturn.
        Article 16 providesam echanism foroneCentralAuthority tonotifytheotherwhenitbelievesthatpotentially for-
   feitableproceedsorinstrum entalitiesofacriminaloffensearelocated intheterritoryoftheotherState.ThelatterState
   maythereupon submittheinformationtoitsautholitieswho arerequiredto determinetheappropliateaction in con-
   form ity with thelawsofthatStateand reporttheoutcom etotheotherParty.ThearticlefurtherrequiresbothPartiesto
   assistoneanother,to theextentpermitted bytheirrespectivelaws, g*11) in proceedingsrelating to such forfeiture,as
   wellastorestitution tovictim sofcrim e,andto thecollection offinesimposedassentencesincrim inalprosecutions.
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       Article17providesthattheTreaty doesnotim pedeany assistanceorprocedureavailableunderotherinternational
   conventionsoranungem entsorunderthedom esticlawsofthePartiesand confirmsthatassistancem ayalsobeprovid-
   edpursuanttoalternativeagreem ents,arrangem entsandpractices.
       Article l8providesforthePartiesto consultpeliodicallyinordertoenableeffectiveimplem entation oftheTreaty.
       Article 19providesthattheTreaty shallenterinto forceupontheexchangeoftheinstrum entsofratification and
   thateitherParty m ayterm inatetheTreatyeffective sixm onthsafterwrittennoticeoftenninationisgiventotheother
   Party.
        A TechnicalAnalysisexplainingindetailtheprovisionsoftheTreatyisbeing preparedby theUnited Statesnego-
   tiating delegation,consisting ofrepresentativesfrom the Departm ents ofJustice and State,and willbe transm itted sepa-
   rately to the Senate Com m ittee on Foreign Relations.
       TheDepartmentofJusticejoinstheDepartmentofStateinfavoringapprovalofL*l2j thisTreatybytheSenateas
   soon aspossible.
       Respectfully subm itted,
        LAW RENCE S.EAG LEBU RG ER.
        Treaty Between The Governm entofthe United States ofA mericaA nd The Governm entofthe Republic ofA rgen-
   tina On M utualLegalA ssistance in CriminalM atters
       The Governmentofthe United States ofA merica and The G overnm entofthe Republic ofArgentina
        Desiring to im prove the effectiveness ofthe law enforcem entautholitiesofboth countriesin the prevention,inves-
   tigation,andprosecution ofcrim ethrough cooperationandm utuallegalassistancein crim inalmatters,
       Have agreed asfollows:
       ARTICLE 1
       Scope ofAssistance
       1.The Contracting Partiesshallprovidem utualassistance,in accordance with the provisionsofthisTreaty,in
   connection with the prevention,investigation,and prosecution ofoffenses,and in proceedingsrelated to criminalm at-
   ters.
       2.Assistanceshallinclude'
                               .

         a)takingthetestimonyorstatementsofpersons',
         b)providingdocuments,records,andarticlesofevidence' ,
         c)servingdocuments' ,
         d)locatingoridentifyingpersons;
         e)transfeningpersonsincustodyfortestimonyorotherpurposes;
         9 executingrequestsforsearchesandseizures;
         g)immobilizingassets',
         h) (*l3j assistinginproceedingsrelatedtoforfeiture,restitution,andcollectionofGnes;and
         i)anyotherform ofassistancenotprohibitedbythelawsoftheRequestedState.
       3.Assistanceshallbeprovidedwithoutregardtowhethertheconductwhichisthesubjectoftheinvestigation,
   prosecution,orproceeding intheRequesting Statewould constituteanoffenseunderthelawsoftheRequested State.
       4.ThisTreaty isintended solely formutuallegalassistance betw een theParties.TheprovisionsofthisTreaty shall
   notgive rise to arighton the partofany privateperson to obtain,suppress,orexclude any evidence,orto im pede the
   execution ofarequest.
       ARTICLE 2
       CentralAuthorities
        1.EachContracting Pal'
                             tyshalldesignateaCentralAuthority tom akeandreceiverequestspursuantto thisTreaty.
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       2.FortheUnitedStatesofAm erica,theCentralA uthority shallbetheAttorney Generalorthepersonsdesignated
   by him .FortheRepublicofArgentina,theCentralA uthority shallbetheSubsecretary ofJusticeorthepersonsdesig-
   natedbyhim .
       3.TheCentralAuthoritiesshallcomm unicatedirectlyw ithoneanotherforthepurposesofthisTreaty.
       A RTICLE 3
       Limitationson Assistanceg*141
       l.TheCentralAuthorityoftheRequestedStatemaydeny assistanceif:
       a)therequestrelatestoapoliticaloffenseoran offenseundermilitarylaw whichwouldnotbean offenseunder
   ordinarycrim inallaw ;or
       b)theexecutionoftherequestwouldprejudicethesecurityorsimilaressentialinterestsoftheRequestedState.
       2.Beforedenying assistance pursuantto thisArticle,the CentralAuthority ofthe Requested State shallconsult
   withtheCentralAuthorityoftheRequestingStatetoconsiderwhetherassistancecanbegivensubjecttosuchcondi-
   tionsasitdeemsnecessary.lftheRequestingStateacceptsassistancesubjecttotheseconditions,itshallcomplywith
   theconditions.
       3.lftheCentralAuthority ofthe Requested State denies assistance,itshallinform theCentralA utholity ofthe Re-
   questing Stateofthereasonsforthedenial.
       ARTICLE 4
       Form and ContentofRequests
       1.A requestforassistance shallbe in writing exceptthatthe CentralAuthority ofthe Requested State m ay accepta
   requestin anotherform in urgentsituations.ln any such case,the requestshallbe confirm ed in writing within ten days
   thereafterunlesstheCentralAuthority oftheRequestedStateg*151 agreesothenvise.Therequestshallbeinthelan-
   guageoftheRequested Stateunlessotherwiseagreed.
       2.Therequestshallincludethefollowing:
       a)thenameoftheauthorityconductingtheinvestigation,prosecution,orproceedingtowhichtherequestrelates;
       b)adescriptionofthesubjectmatlerandnatureoftheinvestigation,prosecution,orproceeding,includingthespe-
   cificcriminaloffenseswhichrelatetothem atter;
       c)adescriptionoftheevidence,information,orotherassistancesought'
                                                                      ,and
       d)astatementofthepurposeforwhichtheevidence,information,orotherassistanceissought.
       3.Totheextentnecessaryandpossible,arequestshallalso include:
       a)informationontheidentityandlocationofanypersonfrom whom evidenceissought;
       b)informationontheidentityandlocationofapersontobeserved,thatperson'srelationshiptotheproceedings,
   and them annerin which senriceistobem ade;
       c)informationontheidentityandwhereaboutsofapersontobelocated' ,
       d)aprecisedescliptionoftheplaceoridentificationofthepersontobesearchedandofthearticlestobeseized;
       e)adescriptionofthemannerinwhichanytestimonyorstatementistobeg*16j takenandrecorded;
       9 alistofquestionstobeasked;
       g)adescriptionofanyparticularproceduretobefollowedinexecutingtherequest;
       h)informationastothefeesandexpensestowhichapersonaskedtoappearintheRequestingStatewillbeenti-
   tled;and
       i)anyotherinformationwhichmaybebroughttotheattentionoftheRequestedStatetofacilitateitsexecutionof
   the request.
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       ARTICLE 5
       Execution ofRequests
       1.TheCentralAutholityoftheRequested Stateshallpromptlyexecutetherequestor,whenappropriate,transmitit
   totheauthorityhavingjurisdictiontodoso.ThecompetentauthoritiesoftheRequestedStateshalldoeverythingin
   theirpowerto executetherequest.TheCourtsoftheRequested State shallhaveauthoritytoissuesubpoenas,search
   warrants,orotherordersnecessarytoexecutetherequest.
       2.W hennecessary,therequestshallbepresentedtotheappropriateauthority bythepersonsdesignatedbythe
   CentralAuthorityoftheRequested State.Suchpersonsshallbelegallyauthorizedto actin any proceedingsrelatedto
   the request.
       3.Requestsshallbeexecuted inaccordancewith thelawsoftheRequestedStateexceptto theextentthatthis
   Treatyg*17j providesotherwise.However,themethodofexecutionspecifiedintherequestshallbefollowedexcept
   insofarasitisprohibitedbythelaw softheRequested State.
       4.lftheCentralAuthority oftheRequestedStatedeterminesthatexecution ofarequestwould interferewith an
   ongoingcriminalinvestigationorproceedinginthatState,itmaypostponeexecution,ormakeexecutionsubjectto
   conditionsdetermined tobenecessaryafterconsultationsw ith theCentralA uthority ofthe Requesting State.lftheRe-
   questingStateacceptstheassistancesubjecttotheconditions,itshallcomplywiththeconditions.
       5.TheRequested State shalluseitsbesteffortsto keepconfidentialarequestand itscontentsifsuch confidentiality
   isrequested by the CentralAuthority ofthe Requesting State.Ifthe requestcannotbe executed withoutbreaching the
   requested contidentiality,theCentralAuthorityoftheRequestedState shallsoinform theCentralAuthority oftheRe-
   questingState,which shallthendeterminewhethertherequestshouldneverthelessbeexecuted.
       6.TheCentralAuthorityoftheRequested Stateshallrespond to reasonable inquiriesbytheCentralAuthorityof
   theRequesting g*18q Stateconcerning progresstowardexecution oftherequest.
       7.TheCentralAuthorityoftheRequested Stateshallpromptlyinform theCentralAuthorityoftheRequesting
   Stateoftheoutcomeoftheexecution oftherequest.lftherequestisnotexecuted,theCentralAuthorityoftheRe-
   quested Stateshallinform theCentralA utholityoftheRequesting Stateofthereasonsforthefailureto execute.
       ARTICLE 6
       Costs
       TheRequested Stateshallpayallcostsrelating totheexecutionoftherequest,exceptforthefeesofexpertwit-
   nesses,the costsoftranslation and transcdption,and thefeesand expensesrelated to travelofpersonspursuantto Arti-
   cles10 and l1,which feesandexpensesshallbepaid bytheRequesting State.
       ARTICLE 7
       Limitationson Use
       1.TheRequesting Stateshallnotuseany informationorevidenceobtainedunderthisTreatyinanyinvestigation,
   prosecution,orproceeding otherthanthatdescribed intherequestwithoutthepriorconsentoftheRequested State.
       2.TheCentralAuthorityoftheRequested Statem ay requestthatinform ationorevidencefurnished underthis
   TreatybekeptconfidentialinaccordancewithconditionswhichitsCentralAuthorityshall (*19j specify.lnthat
   case,theRequesting Stateshalluseitsbesteffortstocom plyw iththeconditionsspecified.
       3.lnformationorevidencewhich hasbeenm adepublicasaresultoftheinvestigation,prosecutionorproceeding in
   theRequesting Stateinaccordancew ith paragraph 1or2m aythereaherbeused foranypurpose.
       A RTICLE 8
       TakingTestim onyandEvidenceintheRequestedState
       1.A personintheRequested Statefrom w hom evidenceisrequested pursuanttothisTreaty shallbecom pelled,if
   necessary,to appearandtestifyorproducedocuments,records,orarticlesofevidence.
      2.Upon request,theCentralAuthorityoftheRequested Stateshallfurnishinform ation in advanceaboutthedate
   andplaceofthetakingofthetestim onyorevidencepursuanttothisarticle.
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                                                                                                              Page 7
                                                1990 U.S.T.LEXIS 224,*


       3.TheRequested Stateshallauthorizethepresenceofsuch personsasspecifiedintherequestduringtheexecution
   oftherequest,and shallallow suchpersonsto presentquestionsin accordancewiththelaw softheRequested State.
       4.lfthepersonreferredto inparagraph 1assertsaclaim ofim m unity,incapacity,orprivilegeunderthelawsofthe
   RequestingState,thetestimonyorevidenceshallnonethelessg*20q betakenandtheclaim madeknowntotheCentral
   Authority oftheRequesting State forresolutionbytheauthoritiesofthatState.
       5.Documents,records,andarticlesofevidenceproducedintheRequestedStateorwhicharethesubjectoftesti-
   mony takenunderthisarticlemaybeauthenticated byanatlestation.lnthecaseofbusinessrecords,authenticationshall
   bemadein them annerindicatedin Form A appendedtothisTreaty.Docum entsauthenticatedby Form A shallbead-
   missiblein evidenceintheRequestingStateasproofofthetruthofthem atterssetforththerein.
       ARTICLE 9
       RecordsofGovernm entAgencies
       l.Upon request,the Requested State shallprovide the Requesting Statew ith copiesofpublicly available docu-
   ments,records,orinfonnationinthepossessionofgovernmentdepartmentsand agenciesin theRequested State.
       2.TheRequested Statem ayprovidecopiesofany docum ents,records,orinformation which arein thepossession
   ofa governm entdepartm entoragency in thatState butwhich are notpublicly available,to the same extentand under
   thesameconditionsasitwouldbeavailabletoitsownlaw enforcementorjudicialauthorities.TheRequestedState
   mayin g*211 itsdiscretiondenyarequestpursuanttothisparagraphentirelyorinpart.
        3.Officialrecordsproduced pursuantto thisArticle m ay be authenticated underthe provisions ofthe Convention
   AbolishingtheRequirementofLegalization forForeignPublic Documentsdated 5Octoberl961and,ifthatConven-
   tion isnotapplicable,bytheofficialinchargeofmaintainingthem through theuseofForm B appended tothisTreaty.
   No furtherauthenticationshallbenecessary.Docum entsauthenticated underthisparagraph shallbeadmissibleinevi-
   dence in the Requesting State.
       ARTICLE 10
        Testim ony in the Requesting State
        W hen the Requesting State requeststhe appearance ofa person in thatState,the Requested State shallinvitethe
   persontoappearbeforetheappropriateauthority intheRequestingState.TheRequesting Stateshallindicatetheextent
   towhichtheexpensesw illbepaid.TheCentralAuthority oftheRequestedStateshallprom ptlyinform theCentralAu-
   thorityoftheRequestingStateoftheresponseoftheperson.
       ARTICLE 11
       Transfer ofPersonsin Custody
       1.A personinthecustody oftheRequested StatewhosepresenceintheRequestingStateisneededforpurposesof
   assistance(*221 underthisTreatyshallbetransferred from theRequested Stateforthatpurposeifboth theperson and
   theCentralAuthorityoftheRequested Stateconsenttothetransfer.
        2.A personinthecustody oftheRequesting Statewhosepresencein theRequested Stateisneededforpurposesof
   assistanceunderthisTreaty m aybetransferred totheRequested Stateiftheperson consentsand iftheCentralAuthori-
   tiesofboth Statesagree.
       3.Forpurposesofthis Article:
       a)thereceivingStateshallhavetheauthorityandtheobligationtokeepthepersontransferredincustodyunless
   otherwise authorized by the sending State'
                                            ,
       b)thereceivingStateshallreturnthepersontransferredtothecustodyofthesendingStateassoonascircumstanc-
   esperm itorasotherwiseagreedbyboth CentralA uthorities;
       c)thereceivingStateshallnotrequirethesendingStatetoinitiateextraditionproceedingsfortheret'
                                                                                                 urnoftheper-
   son transferred;and
       d)thepersontransferredshallreceivecreditforserviceofanysentenceimposedinthesendingStatefortime
   served inthecustody ofthereceiving State.
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      ARTICLE 12
      Location orldentificationofPersons
      TheRequestedStateshalluseitsbestefforts(*231 toascertainthelocationoridentityofpersonsspecified inthe
   request.
       A RTICLE 13
       ServiceofDocuments
       1.TheRequested Stateshalluseitsbesteffortsto effectsezviceofany documentsrelatingto orformingpartofany
   requestforassistancem adebytheRequesting StateundertheprovisionsofthisTreaty.
       2.TheRequesting Stateshalltransm itanyrequestfortheserviceofadocum entrequiring theappearanceofaper-
   sonbeforean authority in theRequestingStateareasonabletimebeforethescheduledappearance.
      3.TheRequestedStateshallret'
                                 urn aproofofserviceinthem annerspecifiedintheRequest.
      ARTICLE 14
       Search and Seizure
       1.TheRequested Stateshallexecutearequestforthesearch,seizure,anddeliverytotheRequesting Stateofany
   document,record,orarticle,iftherequestincludestheinformationjustifyingsuchactionunderthelawsoftheRe-
   quested State.
       2.Uponrequcst,every officialwho hascustodyofaseizedarticleshallcertify,tlzroughtheuseofForm C append-
   ed tothisTreaty,thecontinuity ofcustody,theidentifyofthearticle,andtheintegrityofitscondition.Nofurthercerti-
   ficationshallberequired.Thecertiticatesshallbeadmissible (*244 in evidenceintheRequesting Stateasproofofthe
   truthofthem atterssetforththerein.
        3.TheCentralAutholityoftheRequested Statem ay requirethattheRequesting Stateagreetoterm sandconditions
   deem ed necessarytoprotectthirdpartyinterestsinthedocum ent,record,orarticletobetransferred.
       ARTICLE 15
       RetunzofDocuments,Records,andArticlesofEvidence
       TheCentralAuthority oftheRequesting Stateshallreturn any documents,records,orarticlesofevidencefunzished
   toitinexecutionofarequestunderthisTreatyassoonaspossibleunlesstheCentralAuthorityoftheRequested State
   waivestheirreturn.
       ARTICLE 16
       A ssistanceinForfeitureProceedings
       1.lftheCentralAuthority ofonePartybecomesawareoffruitsorinstrumentalitiesofoffenseswhicharelocatedin
   theterritoryoftheotherPartyandmaybeforfeitableorotherwisesubjecttoseizureunderthelawsofthatState,itmay
   soinform theCentralAuthorityoftheotherParty.IfthatotherPartyhasjurisdictioninthisregarditmaypresentthis
   inform ation toitsauthoritiesforadeterminationwhetherany actionisappropriate.Theseauthoritiesshallissuetheir
   decisioninaccordanceg*25J withthelawsoftheircountry,andshall,throughtheirCentralAuthority,reporttothe
   otherPartyontheoutcom eofthedecision.
        2.TheContracting Partiesshallassisteachothertotheextentpermittedby theirrespectivelawsinproceedingsre-
   latingtotheforfeitureofthefruitsandinstrumentalitiesofoffenses,restitutiontothevietimsofcrime,aswellasthe
   collectionoffinesimposedbyjudicialorder.
       3.A Requested Partyin controlofforfeitedassetsshalldisposeofthem inaccordancew ith itslaw .To theextent
   pennitted byitslawsand upon suchtermsasitconsidersreasonable,eitherPartymaytransferforfeitedassetsorthe
   proceeds oftheirsale to the otherParty.
       ARTICLE 17
       Com patibility w ith OtherTreaties,Agreem ents,orArrangem ents
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                                                                                                          Page 9
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       Assistanceand proceduressetforth inthisTreaty shallnotpreventeitherContracting Partyfrom grantingassis-
   tanceto theotherPartythroughtheprovisionsofotherinternationalagreem entsto which itmaybeaparty,orthrough
   theprovisionsofitsnationallaws.ThePartiesm ayalsoprovideassistancepursuanttoanybilateralarrangem ent,
   agreem ent,orpracticewhich maybeapplicable.
        A RTICLE 18
        Consultation(*261
       TheCentralAuthoritiesoftheContracting Partiesshallconsult,attim esm utually agreed tobythem ,to enablethe
   m osteffectiveuseto bem adeofthisTreaty.
        ARTICLE 19
        Ratification,Entry Into Force,andTermination
        1.ThisTreatyshallbesubjecttoratification,andtheinstrumentsofratificationshallbeexchangedatWashington,
   D .C.assoonaspossible.
       2.ThisTreaty shallenterintoforceupon theexchangeofinstnzm entsofratification.
       3.EitherPartym ay terminatethisTreatybym eansofwrittennoticeto theotherParty.Term ination shalltakeef-
   fectsix monthsfollowing thedateofnotification.
   DON E in BuenosAires,this4 day ofDecem ber,1990,in two originals,in the English and Spanish languages,both
   textsbeing equally authentic.
   FOR THE GO VERN M ENT OF THE UNITED STATES OF AM ERICA:

   FOR THE GO VERN M ENT O F THE REPUBLIC OF A RG ENTINA :
        Fonn A
        CERTIFICATE OF AUTH ENTICITY OF BUSIN ESS RECORDS

   1,     (Name),attestonpenaltyofcriminalpunishmentforfalsestatementorfalseattestationthatIam employedby
        (NameofBusinessfrom whichdocumentsaresought)andthatmyofficialtitleis (OfficialTitle).lfurtherstate
   thateachoftherecordsattached(*27q heretoistheoriginaloraduplicateoftheorigiifrecordsinthecustodyof
   (NameofBusinessfrom whichdocumentsaresought).
   lfurtherstate that:
        A)suchrecordsweremade,atornearthetimeoftheoccurrenceofthematterssetforth,by(orfrom information
   transmittedby)apersonwithknowledgeofthosematters;
        B)suchrecordswerekeptinthecourseofaregularlyconductedbusinessactivity'
                                                                             ,
        C)thebusinessactivitymadesuchrecordsasaregularpractice;and
        D)ifsuchrecordisnottheoriginal,suchrecordisaduplicateoftheoliginal.
        Signature        Date
        Sworntooraftirmedbeforeme,        (Name),a     ,(Judge,Magistrate,orCommissioneroftheCourt)this
   day of     ,19 .
        Form B
        ATTESTATION O F AUTHEN TICITY OF FOREIGN PUBLIC DOCUM ENTS

   1, (Name),attestonpenaltyofcriminalpunishmentforfalsestatementorattestationthatmypositionwiththeGov-
   ernmentof (Country)is (OfficialTitle)andthatinthatpositionlam authorizedbylaw of (Country)to
   attestthatthedocum entsattached anddescribed below aretrueandaccuratecopiesoforiginalofficialrecordsw hich
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 14 of 24
                                                                                              Page 10
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   arerecordedortiledin (NameofOfficeorAgency), (*28j whichisagovernmentofficeoragencyoftheGov-
   ernmentof (Country).
   DescriptionofDocum ents:
           (Signature)
           (Title)
           (Date)
       Form C
       ATTESTATION W ITH RESPECT TO SEIZED A RTICLES
      1, (Name),attestonpenaltyofcriminalpunishmentforfalsestatementorattestationthatmypositionwiththe
   Governmentof (Country)is (Tit1e).lreceivedcustodyofthearticleslistedbelow from      (NameofPerson)
   on (Date),at (Place).lrelinquishedcustodyofthearticleslistedbelow to (NameofPerson)on (Date),
   at (Place)inthesameconditionaswhenlreceivedthem (or,ifdifferent,asnotedbelow).
   D escription ofArticles:

   Changesin Conditionwhileinm ycustody:

   OfficialSeal
            Signature
           Title
            Place
            Date
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 15 of 24

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                     HONORABLE                              PRESIDING JUDGE OF

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                 PRESENTS        COM PLIMENTS             A PPRCPRIATE    JUDICIAL

                 AUTHORITY          JURISDICTION AND




                 Ccrrectional Matters

                    Miguel Angel Ambrcsio,                       No 17.057/2013


                    connection therewith the issue of this letter of request

                                                    Treaty on             Judicial

                 Assistance in Criminal

                                        Argentine   Republic.            assistance

                 requested                      appropriate judicial authority
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 18 of 24




                                                                       632 WaS Oren
                 between March 1

     M CI
        EL                            case tc inferm the name of the acccunt
     M:A?UBtI
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     Fldù.                                 authorized                  the account .
                 Furthermore, and in ccnnection            the menticned acccunt,



                 prccf cf all activity

                                                                          providing
                         transactions,

                                          cther    informaticn       regarding
                 relationship             person/s                        deposits,
                 withdrawals cr transfers,

                     accounts                            transfers         made and
                     relevant bank.

                 Assistance               requested         obtaining     identical
                 informaticn       account No .

                                   account No.             p7278           ï.t1a.chovia



                 In order tc comply with article        cf the referenced Trea-
                                                                              - y,


                 this court informs                                     is made in

                 acnnection

                                   complaint                       Federal Appeals

                                       and Correctional
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 19 of 24




                                                                case, the appllcation

                 investigated of                sum of

                                         juridical             fcrmalized        Argentina,
                                              have a possible illegal origin.



                                                                          2010 by Federico



                                   Runarsson.          mentioned ândâviduals

                 introduced to each other                    a ccpron friend named

                                                     Runarsson

                 Aparicio. According            to   Runarsson, Garcia        Aparicio
                 allegedly                                   investment              l8-month




                 a total of                    a hnlf million              dollars.

                 Ca sf ,                                   Runarsscn        transferred
                                                     Nordea Bank of Luxembourg through
                                                                1
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                                                                 2)
                 six transactions: The first one on eMarch 1, 2010 to acccunt
                                                                                 .
                           X   -   632                                 Bank for one hundred

                                                     the                 March

                                                      of the company The Winterbctham
                                              in Wachovia Bank N.A. for one hundred
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 20 of 24




                           fifty thousand U .S. dollars; 3u e tnird on March 9, 2010

                       to account                  in the spririto santo Bank for
     kSILLiT'
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     xl Fo:k99
                       zne                          lefourthonMarch17,2010to
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     -1771                                                   Bank of Miami for three

                       hundredand                         dollars;
                                                                 YlhefifthonJuly
                                                                     the Spiritc Santo
     ;ARI  ABR/NC
     ;M vtiewthlm Pt
     -
       c.-ftrkçEsA     Bank for                                           U.S . dollars;
          sksict
                       thellixthonAugust2a,2o1otoaccount                     632inthe
                                                                          thousand U.S.

                                  These transfers, according         complainant
                             been made             instructions of Eduardo Daniel

                       Sin6pcli, owner           Panamanian company Lipsel Finance
                                                        acccunt Nc           632 in the

                       Spirito                                        allegedly

                                                 allegedly

                       acquisition                                         received the

                       m oney p romised   him after expiration of          agreed term .

                       In view thereofr                                    petition for

                       an injunction


                       agreement was reached with Lipsel Finance S .A . Onder the

                       agreement the latter agreed tc the restitution of sixty-two
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 21 of 24




                                                         jurisdicti()n
                                                                   Criminal
                 Correctional Matters

                          y Correctional)                      business subjeat
                                 complaint         noticeably in
                 multi-m illion dollar returns it offered                   shcrt

                                     nnd branded      suspicious         transfers
                                          by individuals        were presumably

                 not involved in the business. The Caurt further pcinted out



                                                     is considered a tax haven.



                 the provisions of Chapter X11I

                        Argentine Criminal Code. Specifically,

                         mentioned         establishes
                 converts, transfers,                     encumbers, disguises,
                    otherwise                           circulation

                          from criminal activity ,



                       origin, provided                value axceads the Eum of

                 three-hundred                      (AR$300,O0O)
                         operation                       repetition
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 22 of 24




                  related operations shall be punished with three

                                                                                    ten
                              amcunt of the transaction .
                 in subsection              increased    one-third of

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                      ofender's               are habitual                      she acts
     lEL/Sl
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     lkA77




                 failing        perform his

                                                             three (3)
                                                                shall also apply to


                     occupation             requires            authorisnticn .
                 Anylne whe receives          preceeds        crime,

                                                                    applied
                 aperation        described        subsection

                 appearance                                       be punished with
                                                             imprisonment.


                mentioned       subsecLion
                                                                   punishable
                                                             imprisonment .

                                                                        the oL'1ginal
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 23 of 24




                          is alsc punishable in

                 Finally,       appropriate judicial authority of the U.S. is
                                                sought are intended to confirm

                 whether the mentioned amount          fnnt was receivad in the


                 in that case, to determine the movements cf the funds after

                 the deposit;                     to establish ff and


                       court    respectfully   asks        appropriate ludicial
                 authority in the U .S.    duly ccmply w ith this request, and

                 offer similar cocperation and assistance to the judicial

                 authcrities
                 United States requests



                 on this 9th day

                  (Signature                                Ambrcsio


                  fsignature and stavpy:              Canicoba          - Federal


                 (Stamplq                                        and Correctional
Case 1:17-mc-21771-KMW Document 1-4 Entered on FLSD Docket 05/12/2017 Page 24 of 24




                          //CERTIFY                                                                                                          signature
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                                                                              President                                      National
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